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                            UNITED STATES DISTRICT COURT

                                  DISTRICT OF NEVADA

                                           ***
                                            )          CASE NO. 2:11-CR-166-LRH-CWH-2
UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
v.                                          )          MINUTE ORDER
                                            )
TONYA RUSHING,                              )          DATE: May 28, 2015
                                            )
                     Defendant.             )
                                            )



PRESENT: THE HONORABLE LARRY R. HICKS, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK:           NONE APPEARING           REPORTER:        NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                      NONE APPEARING
COUNSEL FOR DEFENDANT(S):                     NONE APPEARING
MINUTE ORDER IN CHAMBERS:

        Before the Court is Government's Motion to Amend/Correct [#98], and Government's
Motion to Withdraw [#98] Motion to Amend/Correct [#99], good cause appearing,

     IT IS ORDERED THAT Government's Motion to Withdraw [#98] Motion to
Amend/Correct [#99] is granted. Government's Motion to Amend/Correct [#98] is withdrawn.

       IT IS SO ORDERED.
                                                 LANCE S. WILSON, CLERK

                                                 By:      /s/ D. Negrete
                                                               Deputy Clerk
